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                                        AMENDMENT 1
                                               TO
                                         ADDENDUM!

         This First Amendment to Addendum 1 ("Addendum") dated as of October 1, 2014, is a
supplement to Addendum 1, dated August 1, 2012, which is a supplement to the License and
Marketing Agreement ("Agreement") approved by the University's Board of Trustees on
September 10, 2012 between Academic Partnerships, LLC, a Delaware limited liability company
("AP"), and University of Cincinnati (the "University") (the Parties) and is fully incorporated
therein.

 I.      Section 4 of Addendum 1 is hereby modified by adding the following:

         Graduate Certificate in Individual Tax (GMAT waiver pathway forMS Tax)
         Graduate Certificate in Corporate Tax (GMAT waiver pathway forMS Tax)
         Graduate Certificate in Business Foundations (GMAT waiver pathway for MBA)
         Graduate Certificate in Healthcare Administration, for MBA-DL students
         Graduate Certificate in Healthcare Finance, for MBA-DL students
         Graduate Certificate in Healthcare Operations, for MBA-DL students
         Graduate Certificate in Healthcare Policy, for MBA-DL students

 II.     The following section is hereby added to Addendum 1:

        5. AP Afliliate Program

               The "AP Affiliate Program" is defined as a program whereby employers become
               an AP Affiliate by signing an agreement with AP to allow AP to share UC
               program information with the employer's employees, and to make employees and
               family members of AP Affiliate employers eligible for Affiliate scholarships.

               To incentivize employers to join the program, the University will scholarship all
               AP Affiliate students in a Lindner College of Business online degree program
               (which currently include: (i) MS in Tax, and the (ii) online MBA) at the rate of
               $90 per credit hour. If a student enrolls full-time (1 0 or more credit hours per
               semester) they will not receive more than $900 for that term.

               Affiliate Scholarships may not be added to any other scholarships the University
               may award to any particular student. For example, if a student is eligible for a $90
               per credit hour Affiliate Scholarship and is offered a $4,000 merit scholarship, the
               individual must choose one or the other scholarships and may not receive both.
               The parties acknowledge and agree that Revenue, as defined in the Agreement,
               does not include any tuition that the University does not collect because of a
               scholarship awarded to any Student.

               UC will begin offering the Affiliate scholarship to cohorts beginning October 1,
               2014 and thereafter. Either party may terminate the AP Affiliate scholarship for
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                    any reason upon providing 90 days prior written notice. Following termination,
                    the University will honor AP Affiliate scholarships that have already been
                    offered, but will not be obligated to offer any further such scholarships.


     ACADEMIC PARTNE                                     UNIVERSITY OF CINCINNATI

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     Name: Wes Brazell                                  Name:           Ellen S. Banks, Esq.
                                                                     Assistant General CumJSel
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     Title: CFO                                         Title:

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